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                                  6
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                                  7            HILTON RESORTS CORPORATION
                                               and NANCY HUTCHINGS
                                  8

                                  9
                                                                               UNITED STATES DISTRICT COURT
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                                                                                    DISTRICT OF NEVADA
                              11               TIFFANY RHODES,
                              12                                                                 Case No. 2:19-cv-00938-JAD-EJY
                                                                  Plaintiff,
                              13               vs.                                               STIPULATION TO EXTEND TIME FOR
                                                                                                 DEFENDANTS TO FILE SETTLEMENT
                              14               HILTON RESORTS CORPORATION, a                     DOCUMENTS AND REQUEST TO
                                               foreign LLC.; NANCY HUTCHINGS, an                 RESCHEDULE STATUS HEARING
                              15
                                               individual; ROE CORPORATION I-X,
                              16               DOE INDIVIDUALS XI-XX                             [FIRST REQUEST]

                              17                                  Defendants.

                              18

                              19                     Defendants HILTON RESORTS CORPORATION and NANCY HUTCHINGS and Plaintiff

                              20              TIFFANY RHODES, by and through their undersigned counsel, hereby stipulate and agree to extend

                              21              the time for Defendants to file the settlement documents and reschedule the telephonic status

                              22              conference currently set on July 20, 2020, (ECF No. 50).

                              23                     The parties are currently finalizing the settlement and need additional time beyond July 20,

                              24              2020, to do so. Specifically, Defendants made an error in executing the settlement payments in

                              25              sending them to the wrong address, and because of this, Defendants will need to resend the payment

                              26              to Plaintiff. As such, the parties request an extension of two weeks (14), no earlier than August 3,

                              27              2020, to hold a telephonic status conference in this regard.

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                                                       This request is made in good faith and not for the purpose of delay.
                                  2

                                  3            Dated: July 16, 2020                                   Dated: July 16, 2020

                                  4            Respectfully submitted,                                Respectfully submitted,

                                  5

                                  6            /s/ James L. Edwards, Esq.                             /s/ Patrick H. Hicks, Esq.
                                               BLAIR C. PARKER, ESQ.                                  PATRICK H. HICKS, ESQ.
                                  7            JAMES L. EDWARDS, ESQ.                                 AMY L. THOMPSON, ESQ.
                                               COHEN JOHNSON PARKER EDWARDS                           LITTLER MENDELSON, P.C.
                                  8
                                               Attorneys for Plaintiff                                Attorneys for Defendants
                                  9            TIFFANY RHODES                                         HILTON RESORTS CORPORATION
                                                                                                      and NANCY HUTCHINGS
                              10

                              11                                                              ORDER
                              12                                                              IT IS HEREBY ORDERED that the Stipulation to
                                                                                              Extend Time for Defendants to File Settlement
                              13                                                              Documents and Request to Reschedule Status
                                                                                              Hearing (ECF No. 51) is GRANTED.
                              14
                                                                                              IT IS FURTHER ORDERED that the status
                              15                                                              conference set for July 20, 2020 at 10:30 a.m. is
                                                                                              hereby VACATED.
                              16
                                                                                              IT IS FURTHER ORDERED that the parties shall
                              17                                                              file a status report regarding settlement by or
                                                                                              before August 3, 2020; provided, however, that if a
                              18              4851-7797-7539.1 093854.1011                    stipulation and proposed order dismissing this
                                                                                              action is filed by or before that date no status
                              19                                                              report is required.
                              20

                              21                                                              ___________________________________________
                                                                                              UNITED STATES MAGISTRATE JUDGE
                              22
                                                                                              Dated: July 17, 2020
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